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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------- X
LAWRENCE REED,                         :
                                       :
                 Plaintiff,            :              CASE NO.: 20-cv-00902-LTS
                                       :
        v.                             :
                                       :
TALLGRASS ENERGY, LP, DAVID :
DEHAEMERS, WILLIAM R. MOLER, :
MARCELINO OREJA ARBURUA, GUY G. :
BUCKLEY, WALLACE C. HENDERSON, :
MATTHEW J.K. RUNKLE, ROY N. COOK, :
THOMAS A. GERKE, and TERRANCE D. :
TOWNER,                                :
                                       :
                 Defendants.           :
-------------------------------------- X

                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

Dated: April 20, 2020                              Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

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